                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI

KAREN BACKUES KEIL,                                )
                                                   )
                 Plaintiff,                        )
                                                   )
v.                                                 )   Cause No. 5:18-CV-06074-BP
                                                   )   Consolidated with three additional cases
                                                   )
EDWARD BEARDEN, et al.,                            )
                                                   )
                 Defendants.                       )


     PLAINTIFFS’ MOTION TO EXCLUDE TESTIMONY OF AN UNDISCLOSED
              WITNESS PURSUANT TO FEDERAL RULE 37(c)(1)

       Come now Plaintiffs in these four consolidated cases, and for their Motion to Exclude

Testimony of an Undisclosed Witness Pursuant to Federal Rule 37(c)(1), state as follows:

       1. The pending consolidated cases before the Court are four cases in which women

formerly incarcerated at the Chillicothe Correctional allege that former Corrections Officer

Edward Bearden sexually assaulted them while they were in prison. The trial in the consolidated

cases is set to begin on January 31, 2022.

       2. On January 4, 2022, Defendant filed a Motion for Writ of Habeas Corpus Ad

Testificandum so that two current offenders, Delila Clay and Maya Gasa, could be brought to this

Court by the Missouri Department of Corrections, to be witnesses in the trial, specifically with

regard to Plaintiff Karen Keil. (Doc. 147).

       3. On January 5, 2022, this Court ordered the Clerk to issue a writ for each of the

women, ordering the Missouri Department of Corrections to produce them at Court for the trial.

(Doc. 150).

       4.     Plaintiffs had not planned to object to a Writ with regard to Delila Clay because she


                                                  1

            Case 5:18-cv-06074-BP Document 153 Filed 01/06/22 Page 1 of 3
was disclosed by the Plaintiffs and the Defendant in their Initial Disclosures pursuant to Federal

Rule of Civil Procedure 26(a).

       5. With regard to offender Maya Gasa, however, Plaintiffs object to any testimony she

would provide, as she was never disclosed by Defendant at any time while these cases were

pending, which for Plaintiff Karen Keil is a period of more than three years.

       6. As of the writing of this Motion, Defendant has not undertaken any effort to

supplement his disclosures, either formally or informally, as required by Rule 26(e).

       7. Thousands of pages of documents have been produced by the Missouri Department of

Corrections in this action, and there are hundreds of names of offenders appearing in those

documents who likewise have not been listed as persons likely to have discoverable information.

Plaintiffs should not have had to guess which one, if any, of those offenders would be called as a

witness without their identity having been revealed until 27 days before trial.

       8. Pursuant to Rule 37(c), Witness Gasa should be barred from testifying at trial or any

other proceeding in this cause.

       9.    Defendant’s failure to disclose Ms. Gasa is not substantially justified as he had more

than three years to disclose her, and even now has not supplemented his disclosures to add her as

a witness. Trial is less than 30 days away. The pre-trial hearing is just 15 days away.

       10. Defendant’s failure to disclose Ms. Gasa cannot be said to be harmless where

Defendant asserts that he plans to have Ms. Gasa testify “that Ms. Keil made statements about

making PREA allegations when she got out of prison as early as 2012.” (Doc. 147, par. 9).

Even if Defendant properly disclosed Ms. Gasa in a supplement to his initial disclosures today,

Plaintiffs have been prejudiced by their inability to depose her.

       11. If the Court bars the testimony of Ms. Gasa, then the Writ issued for her to be



                                                 2

            Case 5:18-cv-06074-BP Document 153 Filed 01/06/22 Page 2 of 3
brought to trial can be withdrawn or otherwise canceled.

       WHEREFORE, Plaintiffs pray for an Order of the Court finding Defendant failed to

comply with Rule 26(a) in failing to disclose Maya Gasa as someone likely to have discoverable

information, and for an Order under Rule 37(c) that Ms. Gasa should be barred from testifying at

trial or any other proceeding in this matter, and for such other sanctions under Rule 37(c) which

the Court deems appropriate.

                                                            Respectfully submitted,

                                                            /s/ John J. Ammann
                                                            John J. Ammann, Mo. #34308
                                                            Brendan D. Roediger, Mo. #60585
                                                            Susan McGraugh, Mo. #37430
                                                            Saint Louis University Legal Clinic
                                                            100 North Tucker
                                                            St. Louis, Mo. 63101
                                                            314-977-2778 fax: 314-977-1180
                                                            john.ammann@slu.edu
                                                            brendan.roediger@slu.edu
                                                            susan.mcgraugh@slu.edu

                                                            Jenifer C. Snow, Mo. #67345
                                                            The Law Offices of Joan M. Swartz
                                                            3348 Greenwood Blvd.
                                                            St. Louis, Missouri 63143
                                                            (314) 471-2032, fax 314-485-2345
                                                            jsnow@jmsllc.com

                                                            Attorneys for Plaintiffs


                                CERTIFICATE OF SERVICE


       I certify that a copy of the foregoing Plaintiffs’ Motion to Exclude Testimony has been

served upon counsel of record by means of the Court’s electronic filing system this 6th day of

January, 2022.

                                                            /s/ John J. Ammann


                                                3

         Case 5:18-cv-06074-BP Document 153 Filed 01/06/22 Page 3 of 3
